              Case 5:22-cv-05195-EJD Document 42
                                              40 Filed 03/22/23
                                                       03/20/23 Page 1 of 19
                                            [Exempt from payment of filing fees


1    LOUIS A. LEONE, ESQ. (SBN 099874)
            Of Counsel
2
     BRIAN A. DUUS, ESQ. (SBN 263403)
3    JIMMIE E. JOHNSON, ESQ. (SBN 209471)
     LEONE ALBERTS & DUUS
4    1390 Willow Pass Road, Suite 700
5
     Concord, CA 94520-7913
     Telephone:   (925) 974-8600
6    Facsimile:   (925) 974-8601
     Emails:      lleone@leonealberts.com
7                 bduus@leonealberts.com
8
                  jjohnson@leonealberts.com

9    Attorneys for Defendants
     SPRECKELS UNION SCHOOL DISTRICT
10
     and KATELYN PAGARAN
11

12                                 THE UNITED STATES DISTRICT COURT

13                                 NORTHERN DISTRICT OF CALIFORNIA
14   JESSICA KONEN and A.G., her minor                    Case No.: 5:22-cv-05195-VKD
15
     child,

16                   Plaintiffs,                          STIPULATED PROTECTIVE ORDER
17                                                        (MODIFIED BY THE COURT)
             vs.
18
                                                          Complaint Filed: June 27, 2022
     LORI CALDEIRA, in her personal capacity;             Trial Date: Not Yet Set
19   KELLY BARAKI, in her personal capacity;
     KATELYN PAGARAN, in her personal
20
     capacity; and SPRECKELS UNION SCHOOL
21   DISTRICT

22
                     Defendants.
23

24

25           1. PURPOSES AND LIMITATIONS
26           Disclosure and discovery activity in this action are likely to involve production of
27   confidential, proprietary, or private information for which special protection from public
28   disclosure and from use for any purpose other than prosecuting this litigation may be warranted.

                                                         1
     _________________________________________________________________________________________________________
     STIPULATED PROTECTIVE ORDER
              Case 5:22-cv-05195-EJD Document 42
                                              40 Filed 03/22/23
                                                       03/20/23 Page 2 of 19



1    Accordingly, the parties hereby stipulate to and petition the court to enter the following
2    Stipulated Protective Order. The parties acknowledge that this Order does not confer blanket
3    protections on all disclosures or responses to discovery and that the protection it affords from
4    public disclosure and use extends only to the limited information or items that are entitled to
5    confidential treatment under the applicable legal principles. The parties further acknowledge, as
6    set forth in Section 12.3, below, that this Stipulated Protective Order does not entitle them to
7    file confidential information under seal; Civil Local Rule 79-5 sets forth the procedures that
8    must be followed and the standards that will be applied when a party seeks permission from the
9    court to file material under seal.
10           2. DEFINITIONS
11               2.1     Challenging Party: a Party or Non-Party that challenges the designation of
12                       information or items under this Order.
13               2.2     “CONFIDENTIAL” Information or Items: information (regardless of how it
14                       is generated, stored or maintained) or tangible things that qualify for
15                       protection under Federal Rule of Civil Procedure 26(c).
16               2.3     Counsel (without qualifier): Outside Counsel of Record and House Counsel
17                       (as well as their support staff).
18               2.4     Designating Party: a Party or Non-Party that designates information or items
19                       that it produces in disclosures or in responses to discovery as
20                       “CONFIDENTIAL” or “ATTORNEYS’ EYES ONLY.”
21               2.5     Disclosure or Discovery Material: all items or information, regardless of the
22                       medium or manner in which it is generated, stored, or maintained (including,
23                       among other things, testimony, transcripts, and tangible things), that are
24                       produced or generated in disclosures or responses to discovery in this matter.
25               2.6     Expert: a person with specialized knowledge or experience in a matter
26                       pertinent to the litigation who has been retained by a Party or its counsel to
27                       serve as an expert witness or as a consultant in this action.
28               2.7     House Counsel: attorneys who are employees of a party to this action. House

                                                         2
     _________________________________________________________________________________________________________
     STIPULATED PROTECTIVE ORDER
              Case 5:22-cv-05195-EJD Document 42
                                              40 Filed 03/22/23
                                                       03/20/23 Page 3 of 19



1                        Counsel does not include Outside Counsel of Record or any other outside
2                        counsel.
3                2.8     Non-Party: any natural person, partnership, corporation, association, or other
4                        legal entity not named as a Party to this action.
5                2.9     Outside Counsel of Record: attorneys who are not employees of a party to
6                        this action but are retained to represent or advise a party to this action and
7                        have appeared in this action on behalf of that party or are affiliated with a
8                        law firm which has appeared on behalf of that party.
9                2.10    Party: any party to this action, including all of its officers, directors,
10                       employees, consultants, retained experts, and Outside Counsel of Record
11                       (and their support staffs).
12               2.11    Producing Party: a Party or Non-Party that produces Disclosure or Discovery
13                       Material in this action.
14               2.12    Professional Vendors: persons or entities that provide litigation support
15                       services (e.g., photocopying, videotaping, translating, preparing exhibits or
16                       demonstrations, and organizing, storing, or retrieving data in any form or
17                       medium) and their employees and subcontractors.
18               2.13    Protected Material: any Disclosure or Discovery Material that is designated
19                       as “CONFIDENTIAL” or “ATTORNEYS’ EYES ONLY.”
20               2.14    Receiving Party: a Party that receives Disclosure or Discovery Material from
21                       a Producing Party.
22           3. SCOPE
23           The protections conferred by this Stipulation and Order cover not only Protected
24   Material (as defined above), but also (1) any information copied or extracted from Protected
25   Material; (2) all copies, excerpts, summaries, or compilations of Protected Material; and (3) any
26   testimony, conversations, or presentations by Parties or their Counsel that might reveal
27   Protected Material. However, the protections conferred by this Stipulation and Order do not
28   cover the following information: (a) any information that is in the public domain at the time of

                                                         3
     _________________________________________________________________________________________________________
     STIPULATED PROTECTIVE ORDER
              Case 5:22-cv-05195-EJD Document 42
                                              40 Filed 03/22/23
                                                       03/20/23 Page 4 of 19



1    disclosure to a Receiving Party or becomes part of the public domain after its disclosure to a
2    Receiving Party as a result of publication not involving a violation of this Order, including
3    becoming part of the public record through trial or otherwise; and (b) any information known to
4    the Receiving Party prior to the disclosure or obtained by the Receiving Party after the
5    disclosure from a source who obtained the information lawfully and under no obligation of
6    confidentiality to the Designating Party. Any use of Protected Material at trial shall be governed
7    by a separate agreement or order.
8            4. DURATION
9            Even after final disposition of this litigation, the confidentiality obligations imposed by
10   this Order shall remain in effect until a Designating Party agrees otherwise in writing or a court
11   order otherwise directs. Final disposition shall be deemed to be the later of (1) dismissal of all
12   claims and defenses in this action, with or without prejudice; and (2) final judgment herein after
13   the completion and exhaustion of all appeals, rehearings, remands, trials, or reviews of this
14   action, including the time limits for filing any motions or applications for extension of time
15   pursuant to applicable law.
16           5. SEARCH
17               5.1     Exercise of Restraint and Care in Designating Material for Protection. Each
18                       Party or Non-Party that designates information or items for protection under
19                       this Order must take care to limit any such designation to specific material
20                       that qualifies under the appropriate standards. The Designating Party must
21                       designate for protection only those parts of material, documents, items, or
22                       oral or written communications that qualify – so that other portions of the
23                       material, documents, items, or communications for which protection is not
24                       warranted are not swept unjustifiably within the ambit of this Order.
25                           Mass, indiscriminate, or routinized designations are prohibited.
26                       Designations that are shown to be clearly unjustified or that have been made
27                       for an improper purpose (e.g., to unnecessarily encumber or retard the case
28                       development process or to impose unnecessary expenses and burdens on

                                                         4
     _________________________________________________________________________________________________________
     STIPULATED PROTECTIVE ORDER
              Case 5:22-cv-05195-EJD Document 42
                                              40 Filed 03/22/23
                                                       03/20/23 Page 5 of 19



1                        other parties) expose the Designating Party to sanctions.
2                            If it comes to a Designating Party’s attention that information or items
3                        that it designated for protection do not qualify for protection, that
4                        Designating Party must promptly notify all other Parties that it is
5                        withdrawing the mistaken designation.
6                5.2     Manner and Timing of Designations. Except as otherwise provided in this
7                        Order (see, e.g., second paragraph of section 5.2(a) below), or as otherwise
8                        stipulated or ordered, Disclosure or Discovery Material that qualifies for
9                        protection under this Order must be clearly so designated before the material
10                       is disclosed or produced.
11                           Designation in conformity with this Order requires:
12                     (a)   For information in documentary form (e.g., paper or electronic
13                           documents, but excluding transcripts of depositions or other pretrial or
14                           trial proceedings), that the Producing Party affix the legend
15                           “CONFIDENTIAL” to each page that contains protected material. If only
16                           a portion or portions of the material on a page qualifies for protection, the
17                           Producing Party also must clearly identify the protected portion(s) (e.g.,
18                           by making appropriate markings in the margins). A Party or Non-Party
19                           that makes original documents or materials available for inspection need
20                           not designate them for protection until after the inspecting Party has
21                           indicated which material it would like copied and produced. During the
22                           inspection and before the designation, all of the material made available
23                           for inspection shall be deemed “CONFIDENTIAL.” After the inspecting
24                           Party has identified the documents it wants copied and produced, the
25                           Producing Party must determine which documents, or portions thereof,
26                           qualify for protection under this Order. Then, before producing the
27                           specified documents, the Producing Party must affix the
28                           “CONFIDENTIAL” legend to each page that contains Protected

                                                         5
     _________________________________________________________________________________________________________
     STIPULATED PROTECTIVE ORDER
              Case 5:22-cv-05195-EJD Document 42
                                              40 Filed 03/22/23
                                                       03/20/23 Page 6 of 19



1                            Material. If only a portion or portions of the material on a page qualifies
2                            for protection, the Producing Party also must clearly identify the
3                            protected portion(s) (e.g., by making appropriate markings in the
4                            margins).
5                      (b)   for testimony given in deposition or in other pretrial or trial proceedings,
6                            that the Designating Party identify on the record, before the close of the
7                            deposition, hearing, or other proceeding, all protected testimony.
8                      (c)   for information produced in some form other than documentary and for
9                            any other tangible items, that the Producing Party affix in a prominent
10                           place on the exterior of the container or containers in which the
11                           information or item is stored the legend “CONFIDENTIAL.” If only a
12                           portion or portions of the information or item warrant protection, the
13                           Producing Party, to the extent practicable, shall identify the protected
14                           portion(s).
15               5.3     Inadvertent Failures to Designate. If timely corrected, not to exceed 30
16                       calendar days from service, an inadvertent failure to designate qualified
17                       information or items does not, standing alone, waive the Designating Party’s
18                       right to secure protection under this Order for such material. Upon timely
19                       correction of a designation, the Receiving Party must make reasonable efforts
20                       to assure that the material is treated in accordance with the provisions of this
21                       Order. A Party waives its right to correct a failure to designate by not timely
22                       designating within the time set forth herein absent court order and good
23                       cause.
24           6. CHALLENGING CONFIDENTIALITY DESIGNATIONS
25               6.1     Timing of Challenges. Any Party or Non-Party may challenge a designation
26                       of confidentiality, whether a CONFIDENTIAL or ATTORNEYS’ EYES
27                       ONLY designation, at any time not to exceed 30 calendar days from service
28                       of the designation. A Party waives its right to challenge a confidentiality

                                                         6
     _________________________________________________________________________________________________________
     STIPULATED PROTECTIVE ORDER
              Case 5:22-cv-05195-EJD Document 42
                                              40 Filed 03/22/23
                                                       03/20/23 Page 7 of 19



1                        designation by electing not to mount a timely challenge within the time frame
2                        set forth herein after the original designation is served absent court order and
3                        good cause.
4                6.2     Meet and Confer. The Challenging Party shall initiate the dispute resolution
5                        process by providing written notice of each designation it is challenging and
6                        describing the basis for each challenge within 30 calendar days from service
7                        of the designation. To avoid ambiguity as to whether a challenge has been
8                        made, the written notice must recite that the challenge to confidentiality is
9                        being made. The parties shall attempt to resolve each challenge in good faith
10                       and must begin the process by conferring directly (in voice-to-voice
11                       dialogue; other forms of communication are not sufficient) within 14
12                       calendar days of the date the written notice of the challenge is provided. In
13                       conferring, the Designating Party must either explain the basis for its belief
14                       that the confidentiality designation was proper or withdraw the designation.
15                       A Challenging Party may proceed to the next stage of the challenge process
16                       only if it has engaged in this meet and confer process first unless the
17                       Designating Party is unwilling to participate in the meet and confer process
18                       within 14 calendar days of the date the written notice of the challenge is
19                       provided.
20               6.3     Judicial Intervention. If the Parties cannot resolve a challenge without court
                                       they shall comply with the discovery dispute procedure outlined
21                       intervention, the Receiving Party shall file and serve a motion to compel to
         in Judge DeMarchi's Standing Order for Civil Cases (and in compliance with Civ. L.R. 79-5,
22                       remove the confidentiality designation within 30 calendar days of the initial
         if applicable).
23                       notice of challenge or within 14 calendar days of the parties agreeing that the
24                       meet and confer process will not resolve their dispute, whichever is later.
25                       Each such motion must be accompanied by a competent declaration
26                      affirming that the movant has complied with the meet and confer
                                                                            parties to seek court
27                      requirements imposed in the preceding paragraph. Failure by the Receiving
          intervention within the period set out in Judge DeMarchi's Standing Order for Civil Cases
28                      Party to make such a motion including the required declaration shall

                                                         7
     _________________________________________________________________________________________________________
     STIPULATED PROTECTIVE ORDER
              Case 5:22-cv-05195-EJD Document 42
                                              40 Filed 03/22/23
                                                       03/20/23 Page 8 of 19



1                        automatically waive any challenge to the confidentiality designation. In
                                                             seek relief with respect to
2                        addition, the Challenging Party may file a motion challenging a
3                        confidentiality designation at any time if there is good cause for doing so,
4                        including a challenge to the designation of a deposition transcript or any
                                 In any discovery letter brief filed pursuant to this provision, the parties
5                        portions thereof. Any motion brought pursuant to this provision must be
                         shall attest that they have
6                        accompanied by a competent declaration affirming that the movant has
7                        complied with the meet and confer requirements imposed by the preceding
8                        paragraph. and the Standing Order for Civil Cases.
9                            The burden of persuasion in any such challenge proceeding shall be on
10                       the Designating Party. Frivolous challenges, and those made for an improper
11                       purpose (e.g., to harass or impose unnecessary expenses and burdens on other
12                       parties) may expose the Challenging Party to sanctions. Unless the
                                                                                       by failing to
13                       Designating Party has waived the confidentiality designation during the
                         seek court intervention as described above
14                       pendency of a judicial order regarding same all parties shall continue to
15                       afford the material in question the level of protection to which it is entitled
16                       under the Producing Party’s designation until the court rules on the
17                       challenge.
18           7. ACCESS TO AND USE OF PROTECTED MATERIAL
19               7.1     Basic Principles. A Receiving Party may use Protected Material that is
20                       disclosed or produced by another Party or by a Non-Party in connection with
21                       this case only for prosecuting, defending, or attempting to settle this
22                       litigation. Such Protected Material may be disclosed only to the categories of
23                       persons and under the conditions described in this Order. When the litigation
24                       has been terminated, a Receiving Party must comply with the provisions of
25                       section 13 below (FINAL DISPOSITION).
26                           Protected Material must be stored and maintained by a Receiving Party at
27                       a location and in a secure manner that ensures that access is limited to the
28                       persons authorized under this Order.

                                                         8
     _________________________________________________________________________________________________________
     STIPULATED PROTECTIVE ORDER
              Case 5:22-cv-05195-EJD Document 42
                                              40 Filed 03/22/23
                                                       03/20/23 Page 9 of 19



1                7.2     Disclosure of “CONFIDENTIAL” Information or Items. Unless otherwise
2                        ordered by the court or permitted in writing by the Designating Party, a
3                        Receiving Party may disclose any information or item designated
4                        “CONFIDENTIAL” only to:
5                      (a)   the Receiving Party’s Outside Counsel of Record in this action, as well as
6                            employees of said Outside Counsel of Record to whom it is reasonably
7                            necessary to disclose the information for this litigation and who have
8                            signed the “Acknowledgment and Agreement to Be Bound” that is
9                            attached hereto as Exhibit A;
10                     (b)   the officers, directors, and employees (including House Counsel) of the
11                           Receiving Party to whom disclosure is reasonably necessary for this
12                           litigation and who have signed the “Acknowledgment and Agreement to
13                           Be Bound” that is attached hereto as Exhibit A;
14                     (c)   Experts (as defined in this Order) of the Receiving Party to whom
15                           disclosure is reasonably necessary for this litigation and who have signed
16                           the “Acknowledgment and Agreement to Be Bound” (Exhibit A);
17                     (d)   the court and its personnel;
18                     (e)   court reporters and their staff, professional jury or trial consultants, mock
19                           jurors, and Professional Vendors to whom disclosure is reasonably
20                           necessary for this litigation and who have signed the “Acknowledgment
21                           and Agreement to Be Bound” (Exhibit A);
22                     (f)   during their depositions, witnesses in the action to whom disclosure is
23                           reasonably necessary and who have signed the “Acknowledgment and
24                           Agreement to Be Bound” (Exhibit A), unless otherwise agreed by the
25                           Designating Party or ordered by the court. Pages of transcribed
26                           deposition testimony or exhibits to depositions that reveal Protected
27                           Material must be separately bound by the court reporter and may not be
28                           disclosed to anyone except as permitted under this Stipulated Protective

                                                         9
     _________________________________________________________________________________________________________
     STIPULATED PROTECTIVE ORDER
              Case 5:22-cv-05195-EJD Document 42
                                              40 Filed 03/22/23
                                                       03/20/23 Page 10 of 19



1                               Order;
2                       (g)     the author or recipient of a document containing the information or a
3                               custodian or other person who otherwise possessed or knew the
4                               information; and
5                               the litigants.
6                7.3      Disclosure of “ATTORNEYS’ EYES ONLY” Information or Items. Unless
7                         otherwise ordered by the court or permitted in writing by the Designating
8                         Party, a Receiving Party may disclose any information or item designated
9                         “ATTORNEYS’ EYES ” only to:
10                     (a) the Receiving Party’s Outside Counsel of Record in this Action, as well as
11                        employees of said Outside Counsel of Record to whom it is reasonably
12                        necessary to disclose the information for this Action;
13                     (b) Experts (as defined in this Order) of the Receiving Party to whom disclosure
14                        is reasonably necessary for this Action and who have signed the
15                        “Acknowledgment and Agreement to Be Bound” (Exhibit A);
16                     (c) the court and its personnel;
17                     (d) private court reporters and their staff to whom disclosure is reasonably
18                        necessary for this Action and who have signed the “Acknowledgment and
19                        Agreement to Be Bound” (Exhibit A);
20                     (e) professional jury or trial consultants, mock jurors, and Professional Vendors
21                        to whom disclosure is reasonably necessary for this Action and who have
22                        signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A);
23                     (f) the author or recipient of a document containing the information or a
24                        custodian or other person who otherwise possessed or knew the information;
25                        and
26                     (g) any mediator or settlement officer, and their supporting personnel, mutually
27                        agreed upon by any of the parties engaged in settlement discussions.
28                     Unless otherwise ordered by the Court or permitted in writing by the Designating

                                                         10
     _________________________________________________________________________________________________________
     STIPULATED PROTECTIVE ORDER
              Case 5:22-cv-05195-EJD Document 42
                                              40 Filed 03/22/23
                                                       03/20/23 Page 11 of 19



1                     Party, any information or item designated “Attorneys’ Eyes Only” may not be
2                     disclosed to the litigants or members, officers, directors, or employees of
3                     litigants. Parties may use the “Attorney’s Eyes Only” designation only as set
4                     forth in Paragraphs 12.2.1 and 12.2.2 of this order.
5            8. PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED IN
6                OTHER LITIGATION
7            If a Party is served with a subpoena or a court order issued in other litigation that
8    compels disclosure of any information or items designated in this action as “CONFIDENTIAL”
9    or “ATTORNEYS’ EYES ONLY,” that Party must:
10                     (a)   promptly notify in writing the Designating Party. Such notification shall
11                           include a copy of the subpoena or court order;
12                     (b)   promptly notify in writing the party who caused the subpoena or order to
13                           issue in the other litigation that some or all of the material covered by the
14                           subpoena or order is subject to this Protective Order. Such notification
15                           shall include a copy of this Stipulated Protective Order; and
16                     (c)   cooperate with respect to all reasonable procedures sought to be pursued
17                           by the Designating Party whose Protected Material may be affected.
18           If the Designating Party timely seeks a protective order, the Party served with the
19   subpoena or court order shall not produce any information designated in this action as
20   “CONFIDENTIAL” or “ATTORNEYS’ EYES ONLY” before a determination by the court
21   from which the subpoena or order issued, unless the Party has obtained the Designating Party’s
22   permission. The Designating Party shall bear the burden and expense of seeking protection in
23   that court of its confidential material – and nothing in these provisions should be construed as
24   authorizing or encouraging a Receiving Party in this action to disobey a lawful directive from
25   another court.
26           9. A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE PRODUCED IN
27               THIS LITIGATION
28                     (a)   The terms of this Order are applicable to information produced by a Non-

                                                         11
     _________________________________________________________________________________________________________
     STIPULATED PROTECTIVE ORDER
              Case 5:22-cv-05195-EJD Document 42
                                              40 Filed 03/22/23
                                                       03/20/23 Page 12 of 19



1                             Party in this action and designated as “CONFIDENTIAL” and
2                             “ATTORNEYS’ EYES ONLY.” Such information produced by Non-
3                             Parties in connection with this litigation is protected by the remedies and
4                             relief provided by this Order. Nothing in these provisions should be
5                             construed as prohibiting a Non-Party from seeking additional protections.
6                      (b)    In the event that a Party is required, by a valid discovery request, to
7                             produce a Non-Party’s confidential information in its possession, and the
8                             Party is subject to an agreement with the Non-Party not to produce the
9                             Non-Party’s confidential information, then the Party shall:
10                           (1)   promptly notify in writing the Requesting Party and the Non-Party
11                                 that some or all of the information requested is subject to a
12                                 confidentiality agreement with a Non-Party;
13                           (2)   promptly provide the Non-Party with a copy of the Stipulated
14                                 Protective Order in this litigation, the relevant discovery request(s),
15                                 and a reasonably specific description of the information requested;
16                                 and
17                           (3)   make the information requested available for inspection by the Non-
18                                 Party.
19                     (c)    If the Non-Party fails to object or seek a protective order from this court
20                            within 14 calendar days of receiving the notice and accompanying
21                            information, the Receiving Party may produce the Non-Party’s
22                            confidential information responsive to the discovery request. If the Non-
23                            Party timely seeks a protective order, the Receiving Party shall not
24                            produce any information in its possession or control that is subject to the
25                            confidentiality agreement with the Non-Party before a determination by
26                            the court. Absent a court order to the contrary, the Non-Party shall bear
27                            the burden and expense of seeking protection in this court of its Protected
28                            Material. Any such disputes are subject to Judge DeMarchi's Standing
                                        Order for Civil Cases.
                                                         12
     _________________________________________________________________________________________________________
     STIPULATED PROTECTIVE ORDER
              Case 5:22-cv-05195-EJD Document 42
                                              40 Filed 03/22/23
                                                       03/20/23 Page 13 of 19



1            10. UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
2            If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed Protected
3    Material to any person or in any circumstance not authorized under this Stipulated Protective
4    Order, the Receiving Party must immediately (a) notify in writing the Designating Party of the
5    unauthorized disclosures, (b) use its best efforts to retrieve all unauthorized copies of the
6    Protected Material, (c) inform the person or persons to whom unauthorized disclosures were
7    made of all the terms of this Order, and (d) request such person or persons to execute the
8    “Acknowledgment and Agreement to Be Bound” that is attached hereto as Exhibit A.
9            11. INADVERTANT PRODUCTION OF PRIVILEGED OR OTHERWISE
10               PROTECTED MATERIAL
11           When a Producing Party gives notice to Receiving Parties that certain inadvertently
12   produced material is subject to a claim of privilege or other protection, the obligations of the
13   Receiving Parties are those set forth in Federal Rule of Civil Procedure 26(b)(5)(B). This
14   provision is not intended to modify whatever procedure may be established in an e-discovery
15   order that provides for production without prior privilege review. Pursuant to Federal Rule of
16   Evidence 502(d) and (e), insofar as the parties reach an agreement on the effect of disclosure of
17   a communication or information covered by the attorney-client privilege or work product
18   protection, the parties may incorporate their agreement in the stipulated protective order
19   submitted to the court.
20           12. MISCELLANEOUS
21               12.1    Right to Further Relief. Nothing in this Order abridges the right of any
22                       person to seek its modification by the court in the future.
23               12.2    Right to Assert Other Objections. By stipulating to the entry of this
24                       Protective Order no Party waives any right it otherwise would have to object
25                       to disclosing or producing any information or item on any ground not
26                       addressed in this Stipulated Protective Order. Similarly, no Party waives any
27                       right to object on any ground to use in evidence of any of the material
28                       covered by this Protective Order.

                                                         13
     _________________________________________________________________________________________________________
     STIPULATED PROTECTIVE ORDER
              Case 5:22-cv-05195-EJD Document 42
                                              40 Filed 03/22/23
                                                       03/20/23 Page 14 of 19



1                    12.2.1 Privacy of Non-Party Minors. Nothing in this Order obligates any Party
2                            to disclose the names and contact information of any Non-Party minor or
3                            parent/guardian of same except on the terms set forth herein in the Initial
4                            Disclosures they produce pursuant to Federal Rule of Civil Procedure
5                            26(a)(1), nor in response to any discovery requests propounded upon
6                            them, and Parties may redact that part of any produced item disclosing
7                            such names and contact information. Provided, however, that if Parties
8                            redact this information or fail to provide it in response to an otherwise
9                            non-objectionable written discovery request, they shall be required to
10                           identify the Non-Party minors and their parents by unique identifiers
11                           sufficient to allow other parties to keep track of them (i.e., “Minor A,”
12                           “Minor B,” etc. and “Parents of Minor A,” “Parents of Minor B,” etc.).
13                               Should a party propounding discovery demand the disclosure of the
14                           name and/or contact information of a particularly-identifiable Non-Party
15                           minor or parent/guardian of same (e.g., “Minor A,” “the student who sat
16                           in front of Plaintiff A.G. in her Sixth Grade History class,” or “the
17                           Parents of Minor B”) that the Producing Party has withheld, the
18                           Producing Party shall immediately attempt to inform the affected minor
19                           or parent/guardian of same of the demand in writing by email and/or
20                           certified mail to that person’s most recent address known to the
21                           responding Party, and the Producing Party need not disclose the
22                           requested information for 60 calendar days from the date of service of the
23                           demand so as to permit the affected minor or parent/guardian of same to
24                           object to the disclosure. The affected minor or parent/guardian of same
25                           may file the objection with the Court under seal. Should the affected
26                           minor or parent/guardian of same not object to the disclosure within the
27                           time period and in the manner set forth above, or should the Court
28                           overrule any such objection, the Producing Party shall disclose the

                                                         14
     _________________________________________________________________________________________________________
     STIPULATED PROTECTIVE ORDER
              Case 5:22-cv-05195-EJD Document 42
                                              40 Filed 03/22/23
                                                       03/20/23 Page 15 of 19



1                            information with an “Attorneys’ Eyes Only” designation within seven
2                            days of learning of the failure to object or entry of the Court order
3                            overruling the objection, unless this time period is modified by order of
4                            the Court.
5                    12.2.2 Privacy of Non-Party District Employees. The District need not disclose
6                            the contact information of any Non-Party District employee in the Initial
7                            Disclosures they produce pursuant to Federal Rule of Civil Procedure
8                            26(a)(1), nor in response to any discovery requests propounded upon
9                            them, and may redact that part of any produced item disclosing such
10                           contact information. In lieu of providing contact information, and subject
11                           to any objections the District may raise unrelated to the issue of contact
12                           information, the District shall produce any Non-Party District employee
13                           for deposition upon receiving formal written notice of said deposition
14                           from Plaintiffs, and Plaintiffs will not communicate directly with District
15                           employees but contact them through counsel for the District. If, for
16                           whatever reason, the District cannot produce a Non-Party District
17                           employee for deposition after receiving formal written notice, it shall
18                           disclose that person’s contact information to Plaintiffs with an
19                           “Attorneys’ Eyes Only” designation.
20               12.3    Filing Protected Material. Without written permission from the Designating
21                       Party or a court order secured after appropriate notice to all interested
22                       persons, a Party may not file in the public record in this action any Protected
23                       Material. A Party that seeks to file under seal any Protected Material must
24                       comply with Civil Local Rule 79-5. Protected Material may only be filed
25                       under seal pursuant to a court order authorizing the sealing of the specific
26                       Protected Material at issue. Pursuant to Civil Local Rule 79-5, a sealing order
27                       will issue only upon a request establishing that the Protected Material at issue
28                       is privileged, protectable as a trade secret, or otherwise entitled to protection

                                                         15
     _________________________________________________________________________________________________________
     STIPULATED PROTECTIVE ORDER
Case 5:22-cv-05195-EJD Document 42
                                40 Filed 03/22/23
                                         03/20/23 Page 16 of 19




           effect of the Court's ruling on the motion to seal is as set forth in
          Civil Local Rule 79-5(g).




                        ^
                            AS MODIFIED BY THE COURT
Case 5:22-cv-05195-EJD Document 42
                                40 Filed 03/22/23
                                         03/20/23 Page 17 of 19
              Case 5:22-cv-05195-EJD Document 42
                                              40 Filed 03/22/23
                                                       03/20/23 Page 18 of 19



1                                                    Attorneys for Plaintiffs
2

3    Dated: March 16, 2023                           DAVIS BENGTSON & YOUNG

4

5
                                                     MARK E. DAVIS
6                                                    Attorneys for Defendants
                                                     LORI CALDEIRA and KELLY BARAKI
7

8

9    Dated: March 16, 2023                           LEONE ALBERTS & DUUS
10

11                                                   BRIAN A. DUUS, ESQ.
                                                     JIMMIE E. JOHNSON, ESQ.
12                                                   Attorneys for Defendants
13
                                                     SPRECKELS UNION SCHOOL DISTRICT and
                                                     KATELYN PAGARAN
14

15

16

17    PURSUANT TO STIPULATION, AS MODIFIED BY THE COURT, IT IS SO ORDERED.
18
       DATED: March 22, 2023
19
                                                       UNITED STATES MAGISTRATE JUDGE
20

21

22

23

24

25

26

27

28



                                                         17
     _________________________________________________________________________________________________________
     STIPULATED PROTECTIVE ORDER
              Case 5:22-cv-05195-EJD Document 42
                                              40 Filed 03/22/23
                                                       03/20/23 Page 19 of 19



1                                                 EXHIBIT A
2                            Konen v. Caldeira et al., No. 5:22-cv-05195-EJD
3                                ACKNOWLEDGMENT
                                         AND
4                     AGREEMENT TO BE BOUND BY PROTECTIVE ORDER
5

6
             The undersigned acknowledges that they have read the Stipulated Protective Order attached

7
     hereto, understands the terms thereof, and agrees to be bound by its terms. The undersigned

8
     understands that the terms of the Stipulated Protective Order obligate them to use documents

9
     designated CONFIDENTIAL or ATTORNEYS’ EYES ONLY in accordance with the Order, and

10
     not to disclose any such documents or information derived directly therefrom to any other person,

11
     firm or concern.

12
             The undersigned acknowledges that violation of the Stipulated Protective Order may result

13
     in penalties for contempt of court.

14

15
                                                     ___________________________________
                                                     Printed Name
16

17

18
     Date: _____________________                     ___________________________________
                                                     Signature
19

20

21

22

23

24

25

26

27

28



                                                         18
     _________________________________________________________________________________________________________
     STIPULATED PROTECTIVE ORDER
